                                 IN THE UNITED STATES DISTRICT COURT
      Case 3:17-cr-00213-MFORDocument 43 Filed
                              THE NORTHERN     09/26/17
                                           DISTRICT       Page 1 of 1
                                                    OF TEXAS                                       PageID 62
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                  )
                                                          )
VS.                                                       )                         CASE NO.:3:17-CR-213-M (02)
                                                          )
JERRELL OWENS,                                            )
           Defendant.                                     )

                 ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
              UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States
Magistrate Judge, and no objections thereto having been filed within fourteen days of service in accordance with 28
U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the
Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the
Court accepts the plea of guilty, and JERRELL OWENS is hereby adjudged guilty of Count 1 of the Indictment,
that is, Theft of United States Mail, a violation of 18 U.S.C. §§ 1708 and 2. Sentence will be imposed in
accordance with the Court's scheduling order.

:       The defendant is ordered to remain in custody.

9       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that
        the defendant is not likely to flee or pose a danger to any other person or the community if released and
        should therefore be released under § 3142(b) or (c).

G       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the
        conditions of release for determination, by clear and convincing evidence, of whether the defendant is likely
        to flee or pose a danger to any other person or the community if released under § 3142(b) or (c).

G       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender
        to the United States Marshal no later than ____________________.

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        G      There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        G      The Government has recommended that no sentence of imprisonment be imposed, and
        G      This matter shall be set for hearing before the United States Magistrate Judge who set the conditions
               of release for determination, by clear and convincing evidence, of whether the defendant is likely
               to flee or pose a danger to any other person or the community if released under § 3142(b) or (c) .

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed
        a motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be detained
        under § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate Judge who set
        the conditions of release for determination of whether it has been clearly shown that there are exceptional
        circumstances under § 3145(c) why the defendant should not be detained under § 3143(a)(2), and whether
        it has been shown by clear and convincing evidence that the defendant is likely to flee or pose a danger to
        any other person or the community if released under § 3142(b) or (c).

        SIGNED this 26th day of September, 2017.


                                              _________________________________
                                              BARBARA M. G. LYNN
                                              CHIEF JUDGE
